Case 1:23-cv-01599-ABJ Document 18-15 Filed 06/06/23 Page 1 of 8




         EXHIBIT A-63
Case 1:23-cv-01599-ABJ Document 18-15 Filed 06/06/23 Page 2 of 8
Case 1:23-cv-01599-ABJ Document 18-15 Filed 06/06/23 Page 3 of 8
Case 1:23-cv-01599-ABJ Document 18-15 Filed 06/06/23 Page 4 of 8
Case 1:23-cv-01599-ABJ Document 18-15 Filed 06/06/23 Page 5 of 8
Case 1:23-cv-01599-ABJ Document 18-15 Filed 06/06/23 Page 6 of 8
Case 1:23-cv-01599-ABJ Document 18-15 Filed 06/06/23 Page 7 of 8
Case 1:23-cv-01599-ABJ Document 18-15 Filed 06/06/23 Page 8 of 8
